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June 29, 2021

By eFile & Email

Hon. Marian W. Payson
United States Magistrate Judge
2120 Kenneth B. Keating Federal Building
100 State Street
Rochester, New York 14614
marian_payson@nywd.uscourts.gov

Re: Cellco Partnership d/b/a Verizon Wireless v. City of Rochester, No. 6:19-cv-06583-EAW-MWP

Dear Judge Payson:

We represent plaintiff Cellco Partnership d/b/a Verizon Wireless (“Verizon”) in the above-referenced
action. We write regarding the City of Rochester’s (the “City”) pending motion to compel (Dkt. 41 (the
“Motion”)) to advise the Court that the Supreme Court recently denied the petition for certiorari in City
of Portland v. FCC, No. 20-1354, 2021 WL 2637868 (U.S. June 28, 2021).

Briefly, the City’s Motion seeks discovery intended to determine whether Verizon can afford to pay the
fees it challenges. (Dkt. 41.) Verizon opposed the City’s Motion (Dkt. 43), arguing in part that
the discovery sought is irrelevant under the governing standard set forth by the Federal Communications
Commission (“FCC”) in the Barriers Order1. In the Barriers Order, the FCC ruled that a locality’s fees are
unlawful unless they are, among other things, a reasonable approximation of the government’s objectively
reasonable costs that were specifically related to and caused by the deployment of telecommunications
facilities in the rights-of-way. Barriers Order ¶¶ 50, 79; id. n.131. In City of Portland v. United States, the
Ninth Circuit, exercising exclusive jurisdiction under the Hobbs Act to decide numerous petitions
challenging the FCC’s Order, affirmed the Barriers Order. 969 F.3d 1020, 1037-39, 1048-49 (9th Cir. 2020).

Verizon maintains that the Hobbs Act Portland proceedings is the exclusive venue for challenging
the validity of the Barriers Order, and thus this Court lacks jurisdiction to entertain the City’s challenges to
the Barriers Order. (Dkt. 43 at 10-13.) The City disagreed and pointed the Court to the petition for
certiorari from the Portland decision “[g]iven the centrality of the question of the validity of the [Barriers


1
 Accelerating Wireless Broadband Deployment by Removing Barriers to Infrastructure Investment, et al., 33 FCC Rcd 9088 (Sept.
27, 2018).
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Order] to the pending motion to compel.” (Dkt. 45; see also Dkt. 46 (Verizon responding).) During the
April 6, 2021 hearing on the City’s Motion, the Court noted the pending petition for certiorari and reserved
decision on the Motion. (Dkt. 47.)

As noted above, the Supreme Court has now denied the petition for certiorari from the Portland decision.
See City of Portland v. FCC, No. 20-1354, 2021 WL 2637868 (U.S. June 28, 2021). Thus, the Barriers Order
has now been fully and finally affirmed and all the arguments raised by the Portland petitioners have been
rejected. As Verizon explained, the City improperly seeks to raise the very same arguments in this
litigation. (Dkt. 43 at 13-16; see also, e.g., Dkt. 45-1 at 27-38 (renewing in petition constitutional
challenges and arguments against cost-based standard instead of requiring a provider to show inability to
afford fees).) This Court should decline to revisit the same arguments that were litigated before, and
rejected by, the Ninth Circuit and should deny the City’s Motion.

Respectfully submitted,




Damon W. Suden

cc:    All Counsel of Record




KELLEY DRYE & WARREN LLP                                                                       2
